      Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 1 of 23




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 LYNNETTE TATUM-RIOS, Individually ECF CASE
 and on behalf of all other persons
 similarly situated,
                                    No.: ____________________
                 Plaintiff,
                                    CLASS ACTION COMPLAINT
         v.
                                    JURY TRIAL DEMANDED
 LUB FOODS USA, INC, d/b/a Nick’s

                Defendant.


                                    INTRODUCTION

       1.      Plaintiff Lynnette Tatum-Rios, who is legally blind, brings this civil rights

action against Defendant LUB Foods USA, Inc, d/b/a “Nick’s” (“Defendant”) for its failure

to design, construct, maintain, and operate its website, https://nicks.com/ (the “Website”),

to be fully accessible to and independently usable by Plaintiff Tatum-Rios and other blind

or visually-impaired people. Defendant denies full and equal access to its Website.

       2.      Plaintiff Tatum-Rios, individually and on behalf of others similarly situated,

asserts claims under the Americans With Disabilities Act (“ADA”), New York State

Human Rights Law (“NYSHRL”), and New York City Human Rights Law (“NYCHRL”)

against Defendant.

       3.      Plaintiff Tatum-Rios seeks a permanent injunction to cause Defendant to

change its corporate policies, practices, and procedures so that its Website will become and

remain accessible to blind and visually-impaired consumers.




                                            -1-
      Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 2 of 23




                                        THE PARTIES

        4.      Plaintiff Tatum-Rios is, at all relevant times, a resident of New York, New

York, New York County. As a blind, visually-impaired handicapped person, she is a

member of a protected class of individuals under Title III of the ADA, under 42 U.S.C. §

12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the NYSHRL and NYCHRL.

        5.      Defendant is at all relevant times a foreign business corporation that is

organized under California law. Upon information and belief, Defendant is authorized to

do business in the State of New York and does business in the State of New York by

offering its products and services to consumers located within the State.

                               JURISDICTION AND VENUE

        6.      This Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff Tatum-Rios’ claims arise under Title III of the

ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

        7.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff Tatum-Rios’ NYSHRL, N.Y. Exec. Law Article 15, and NYCHRL, N.Y.C.

Admin. Code § 8-101 et seq., claims.

        8.      Venue is proper under §1391(b)(2) as a substantial part of the events giving

rise to the claims occurred in this District: Plaintiff Tatum-Rios is a resident of this District;

and she has attempted to access the Website in this District and, in doing so, was denied

the full use and enjoyment of the facilities, goods, and services of the Website while in

New York County.




                                               -2-
      Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 3 of 23




       9.      This Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                  NATURE OF ACTION

       10.     The COVID-19 pandemic has shifted the word into an almost entirely

online model. Restaurants need a website for customers to place pick-up and delivery

orders. Entertainment venues are delivering performances to audiences via their Websites

or other online streaming services. Our educational institutions, including private schools

and Universities have shifted to a virtual classroom with distance-learning being the new

normal. Furthermore, with store closures or capacity limitations, stores are relying on their

Websites to serve as the fundamental point of contact between their business and

consumers. In order for blind and visually impaired consumers to access these Websites,

they must use screen reading software.

       11.     Blind and visually impaired users of Windows operating system-enabled

computers and devices have several screen-reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech

(“JAWS”) is currently the most popular, separately purchased and downloaded screen-

reading software program available for a Windows computer.

       12.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually impaired user is unable to access the same content

available to sighted users.




                                             -3-
      Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 4 of 23




        13.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web

Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established

guidelines for making websites accessible to blind and visually impaired people. These

guidelines are universally followed by most large business entities and government

agencies to ensure its websites are accessible.

        14.     For a website to be equally accessible to a blind or visually impaired person,

under these guidelines, it should have following:

                a.      Alternative text (“alt-text”) or text equivalent for every non-text

element. Alt-text is an invisible code embedded beneath a graphical image on a website.

Web accessibility requires that alt-text be coded with each picture so that screen-reading

software can speak the alt-text where a sighted user sees pictures, which includes captcha

prompts. Alt-text does not change the visual presentation, but instead a text box shows

when the mouse moves over the picture. The lack of alt-text on these graphics prevents

screen readers from accurately vocalizing a description of the graphics, depriving that

person from knowing what is on the website.

                b.      Videos have audio description.

                c.      Title frames with text are provided. Absent these titles, navigating a

website is particularly difficult.

                d.      Webpage headings are properly labeled with the topic or purpose of

the webpage, versus being blank. Screen readers read out page headings, allowing users to

quickly skip to a section. Navigation is, however, very difficult without those headings.

                e.      Equivalent text is provided when using scripts.




                                             -4-
         Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 5 of 23




                f.     Forms may be completed with the same information and

functionality as for sighted persons. Absent forms being properly labeled, it is difficult for

a visually impaired or blind individual to complete the forms, as they do not know what

the fields, how to input data, or what options to select (e.g., selecting a date or a size). A

compliant website will, instead, provide labels or instructions when content requires user

input. This includes captcha prompts, requiring the user to verity that she or she is not a

robot.

                g.     Information about the meaning and structure of content is conveyed

by more than the visual presentation of content.

                h.     Web pages do not share the same ID or title. When two or more

elements on a web page share the same ID or title, it causes problems in screen readers

which use IDs for labeling controls and table headings.

                i.     Linked images must contain alt-text explaining the image. Absent

that alt-text, a screen reader has no content to present the user as to what the image is.

                j.     The purpose of each link is easily determined from how the link is

labeled. Absent properly labeling each link or when no description exists, it confuses

keyboard and screen-reader users as they do not know the purpose of the links. This

includes captcha prompts.

                k.     No redundant links where adjacent links go to the same URL

address. When redundant links exist, it causes additional navigation and repetition for

keyboard and screen-reader users.




                                             -5-
        Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 6 of 23




               l.       Portable Document Formats (PDFs) are accessible. When they are

inaccessible, the visually impaired or blind individual cannot learn what information is on

them.

               m.       One or more keyboard operable user interface has a mode of

operation where the keyboard focus indicator is discernible.

               n.       Changing the setting of a user interface component does not

automatically cause a change of content where the user has not been advised before using

the component.

               o.       The name and role of all user interface elements can be

programmatically determined; items that can be set by the user can be programmatically

set; and/or notification of changes to these items are available to user agents, including

assistive technology.

                                STATEMENT OF FACTS

Defendant, Its Website And Its Website’s Barriers

         15.   Defendant is an online retailer of ice cream products. Through the Website,

customers can purchase different flavored ice cream products either per pint or as

collections.

         16.   Defendant’s Website is heavily integrated with its retail operations.

Through the Website, customers can learn about the company, purchase ice cream, learn

about its founders, read the blog and read reviews.

         17.   Defendant’s Website is a commercial marketplace. Without any brick and

mortar stores, the Website is a main point of sale for Defendant’s products. Through the




                                            -6-
        Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 7 of 23




Website, customers can also learn the return policy and contact the company via an online

form.

         18.   It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff Tatum-Rios and other blind or visually-impaired users access to its Website,

thereby denying the facilities and services that are offered and integrated with its retail

operations. Due to its failure and refusal to remove access barriers to its Website, Plaintiff

Tatum-Rios and visually-impaired persons have been and are still being denied equal

access to Defendant’s products and the numerous facilities, goods, services, and benefits

offered to the public through its Website.

         19.   Plaintiff Tatum-Rios cannot use a computer without the assistance of

screen-reading software. She is, however, a proficient JAWS screen-reader user and uses

it to access the Internet. She has visited the Website on separate occasions using screen-

reading software.

         20.   During her visits to the Website, the last occurring on or about November

16, 2020, Plaintiff Tatum-Rios encountered multiple access barriers that denied him the

full enjoyment of the facilities, goods, and services of the Website, as well as to the

facilities, goods, and services of Defendant’s online retail operations. Because of these

barriers, she was unable to, substantially equal to sighted individuals:

               a.      Know what is on the Website. This is in part due to the non-text

images lacking proper alternative text. Throughout the Website, images are not labeled

and on the product pages, images are not tagged; images are not even detected by the screen

reader. There are no functioning Headings through the screen reader. For example the

heading labeled “shop” was full of reviews instead of specific items which should be




                                             -7-
      Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 8 of 23




ordered. Headers such as “about” and “nutrition” and “collection” were non-existent unless

key words were used, which only a sighted user would know to use. There was a link for

“store” and “collections” but the link simply stated “Link” with no other specific

information, so the screen reader was unable to determine what the link unless you clicked

on it and without assistance from a sighted user. A sighted user can expand these links and

access additional information about the product; therefore Plaintiff Tatum-Rios was

unaware she could click on them to access additional information.

               b.     Navigate the Website. This Website was difficult to navigate using

a screen reader. Links are not properly labeled. Elements that are clickable are not always

labeled as such. For example: the screen reader could not tell that there was a pop-up that

could be closed and kept repeating the information over and over; this prevented further

navigating of the site unless advised to close pop-up, which can only be done with the

assistance of a sighted user. When shopping for products, Plaintiff Tatum-Rios could not

access the items on “shop” section because there was no link and the reader couldn’t

recognize anything unless informed to search for specific item through key words,

effectively preventing her from purchase any items. Plaintiff was not always able to locate

the “add to cart” button, again preventing from making purchases, but once located it was

very difficult to checkout because links weren’t accessible and it was difficult to change

the quantity in cart, which made it extremely to place an order.

       21.     Plaintiff Tatum-Rios was denied full and equal access to the facilities and

services Defendant offers to the public on its Website because she encountered multiple

accessibility barriers that visually-impaired people often encounter with non-compliant

websites:




                                            -8-
      Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 9 of 23




               a.      Lack of alt-text for images.

               b.      Form controls have no label.

               c.      Tables are not labeled with row and column headers.

               d.      Links use general text like “click here” with no surrounding text

explaining the link purpose.

               e.      Frames do not have a title.

               f.      Button elements are empty and have no programmatically

determined name.

Form controls have no label and no programmatically determined name.

               g.      Forms have fields without label elements or title attributes.

               h.      Webpages have duplicate IDs, which cause problems with screen

readers.

               i.      Radio button groups are not contained in a fieldset element.

               j.      Form field labels are not unique on a page or enclosed in a fieldset

with a legend that makes the label unique.

               k.      Headings are not nested correctly and at least twenty (20) headings

are empty.

               l.      Webpages have markup errors.

Defendant Must Remove Barriers to Its Website

       22.     Due to the inaccessibility of its Website, blind and visually-impaired

customers such as Plaintiff Tatum-Rios, who need screen-readers, cannot fully and equally

use or enjoy the facilities, goods, and services Defendant offers to the public on its Website.

The Website’s access barriers that Plaintiff Tatum-Rios encountered have caused a denial




                                             -9-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 10 of 23




of her full and equal access in the past, and now deter him on a regular basis from accessing

the Website. These access barriers have likewise deterred him from taking advantage of

Defendant’s online retail operations and enjoying it equal to sighted individuals.

       23.     If the Website was equally accessible to all, Plaintiff Tatum-Rios could

independently navigate it, view goods and service items; learn about items; and complete

a purchase, as sighted individuals can.

       24.     Through her attempts to use the Website, Plaintiff Tatum-Rios has actual

knowledge of the access barriers that make these services inaccessible and independently

unusable by blind and visually-impaired people.

       25.     Because simple compliance with the WCAG 2.1 Guidelines would provide

Plaintiff Tatum-Rios and other visually-impaired consumers with equal access to the

Website, Plaintiff Tatum-Rios alleges that Defendant has engaged in acts of intentional

discrimination, including, but not limited to, the following policies or practices:

               a.      Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff Tatum-Rios;

               b.      Failing to construct and maintain a website that is sufficiently

intuitive to be equally accessible to visually-impaired individuals, including Plaintiff

Tatum-Rios; and,

               c.      Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually impaired consumers, such as

Plaintiff Tatum-Rios, as a member of a protected class.




                                            -10-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 11 of 23




       26.        Defendant therefore uses standards, criteria or methods of administration

that have the effect of discriminating or perpetuating the discrimination of others, as

alleged herein.

       27.        Title III of the ADA expressly contemplates the injunctive relief that

Plaintiff Tatum-Rios seeks under 42 U.S.C. § 12188(a)(2).

       28.        Because its Website has never been equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its Website to

become and remain accessible, Plaintiff Tatum-Rios seeks a permanent injunction under

42 U.S.C. § 12188(a)(2) requiring Defendant to retain a qualified consultant acceptable to

Plaintiff Tatum-Rios to assist Defendant to comply with WCAG 2.1 guidelines for its

Website:

                  a.     Remediating the Website to be WCAG 2.1 AA compliant;

                  b.     Training Defendant’s employees and agents who develop the

Website on accessibility compliance under the WCAG 2.1 guidelines;

                  c.     Regularly checking the accessibility of the Website under the

WCAG 2.1 guidelines;

                  d.     Regularly testing user accessibility by blind or vision-impaired

persons to ensure that Defendant’s Website complies under the WCAG 2.1 guidelines; and,

                  e.     Developing an accessibility policy that is clearly disclosed on

Defendant’s Website, with contact information for users to report accessibility-related

problems.

       29.        Although Defendant may currently have centralized policies on maintaining

and operating its Website, Defendant lacks a plan and policy reasonably calculated to make




                                             -11-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 12 of 23




them fully and equally accessible to, and independently usable by, blind and other visually

impaired consumers.

       30.     Without injunctive relief, Plaintiff Tatum-Rios and other visually impaired

consumers will continue to be unable to independently use the Website, violating its rights.

       31.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining its Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making its Website

equally accessible to visually impaired customers.

       32.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                           CLASS ACTION ALLEGATIONS

       33.     Plaintiff Tatum-Rios seeks to certify a nationwide class under Fed. R. Civ.

P. 23(a) and 23(b)(2): all legally blind individuals in the United States who have attempted

to access Defendant’s Website and as a result have been denied access to the equal

enjoyment of goods and services offered by Defendant during the relevant statutory period

(“Class Members”).

       34.     Plaintiff Tatum-Rios seeks to certify a State of New York subclass under

Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the State of New York

who have attempted to access the Website and as a result have been denied access to the

equal enjoyment of goods and services offered by Defendant during the relevant statutory

period (“New York Subclass Members”).

       35.     Plaintiff Tatum-Rios seeks to certify a New York City subclass under Fed.

R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the City of New York who




                                           -12-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 13 of 23




have attempted to access the Website and as a result have been denied access to the equal

enjoyment of goods and services offered by Defendant during the relevant statutory period

(“New York City Subclass Members”).

       36.     Common questions of law and fact exist amongst the Class Members, New

York Subclass Members and New York City Subclass Members:

               a.      Whether Defendant’s Website is a “commercial marketplace”

effecting interstate commerce;

               b.      Whether Defendant’s Website is a “public accommodation” or a

service or good “of a place of public accommodation” under Title III of the ADA;

               c.      Whether Defendant’s Website is a “place or provider of public

accommodation” or an “accommodation, advantage, facility or privilege” under the

NYSHRL or NYCHRL;

               d.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating Title III of the ADA; and

               e.      Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to people with

visual disabilities, violating the NYSHRL or NYCHRL.

       37.     Plaintiff Tatum-Rios’ claims are typical of the Class Members, New York

Subclass Members and New York City Subclass Members: they are all severely visually

impaired or otherwise blind, and claim that Defendant has violated Title III of the ADA,

NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so it

can be independently accessible to the visually impaired individuals.




                                             -13-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 14 of 23




          38.   Plaintiff Tatum-Rios will fairly and adequately represent and protect the

Class and Subclasses’ interests because she has retained and is represented by counsel

competent and experienced in complex class action litigation, and because she has no

interests antagonistic to the Class or Subclasses. Class certification of the claims is

appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act

on grounds generally applicable to the Class and Subclasses, making appropriate both

declaratory and injunctive relief with respect to Plaintiff, the Class and Subclasses.

          39.   Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions common to Class and Subclass Members

predominate over questions affecting only individuals, and because a class action is

superior to other available methods for the fair and efficient adjudication of this litigation.

          40.   Judicial economy will be served by maintaining this lawsuit as a class action

in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout

the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

          41.   Plaintiff Tatum-Rios, individually and on behalf of the Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          42.   Title III of the ADA prohibits “discriminat[ion] on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation by any person who owns, leases

(or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a).



                                             -14-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 15 of 23




       43.      Defendant’s Website is a public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). Its Website is a service, privilege, or advantage

of Defendant’s online retail operations. The Website is a service that is integrated with

Defendant’s online retail operation.

       44.      Under Title III of the ADA, it is unlawful discrimination to deny individuals

with disabilities the opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       45.      Under Title III of the ADA, it is unlawful discrimination to deny individuals

with disabilities an opportunity to participate in or benefit from the goods, services,

facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       46.      Under Title III of the ADA, unlawful discrimination also includes, among

other things:

       [A] failure to make reasonable modifications in policies, practices, or
       procedures, when such modifications are necessary to afford such goods,
       services, facilities, privileges, advantages, or accommodations to
       individuals with disabilities, unless the entity can demonstrate that making
       such modifications would fundamentally alter the nature of such goods,
       services, facilities, privileges, advantages or accommodations; and a failure
       to take such steps as may be necessary to ensure that no individual with a
       disability is excluded, denied services, segregated or otherwise treated
       differently than other individuals because of the absence of auxiliary aids
       and services, unless the entity can demonstrate that taking such steps would
       fundamentally alter the nature of the good, service, facility, privilege,
       advantage, or accommodation being offered or would result in an undue
       burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).




                                            -15-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 16 of 23




        47.     These acts violate Title III of the ADA, and the regulations promulgated

thereunder. Plaintiff Tatum-Rios, who is a member of a protected class of persons under

Title III of the ADA, has a physical disability that substantially limits the major life activity

of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, she has

been denied full and equal access to the Website, has not been provided services that are

provided to other patrons who are not disabled, and has been provided services that are

inferior to the services provided to non-disabled persons.

        48.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein, Plaintiff Tatum-Rios requests the relief as set forth below.

                              SECOND CAUSE OF ACTION
                             VIOLATIONS OF THE NYSHRL

        49.     Plaintiff Tatum-Rios, individually and on behalf of the New York Subclass

Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

forth herein.

        50.     N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent

or employee of any place of public accommodation . . . because of the . . . disability of any

person, directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”

        51.     Defendant’s Website constitutes a sales establishment and public

accommodation under N.Y. Exec. Law § 292(9). Defendant’s Website is a service,

privilege or advantage of Defendant’s online retail operations. Defendant’s Website is a

service that is by and integrated with its online retail operations.




                                              -16-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 17 of 23




       52.     Defendant is subject to NYSHRL because it owns and operates its Website,

which is marketed to consumers located in the State of New York. Defendant is a “person”

under N.Y. Exec. Law § 292(1).

       53.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated with

its online retail operations to be completely inaccessible to the blind. This inaccessibility

denies blind patrons full and equal access to the facilities, goods and services that

Defendant makes available to the non-disabled public.

       54.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or would

result in an undue burden.”

       55.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no individual

with a disability is excluded or denied services because of the absence of auxiliary aids and

services, unless such person can demonstrate that taking such steps would fundamentally

alter the nature of the facility, privilege, advantage or accommodation being offered or

would result in an undue burden.”

       56.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually impaired. These guidelines have been




                                            -17-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 18 of 23




followed by other large business entities and government agencies in making their websites

accessible, including but not limited to: adding alt-text to graphics and ensuring that all

functions can be performed using a keyboard. Incorporating the basic components to make

its Website accessible would neither fundamentally alter the nature of its business nor result

in an undue burden to them.

       57.     Defendant’s actions constitute willful intentional discrimination against the

class because of a disability, violating the NYSHRL, N.Y. Exec. Law § 296(2), in that

Defendant has:

               a.      Constructed and maintained a website that is inaccessible to Class

Members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       58.     Defendant discriminates, and will continue in the future to discriminate

against Plaintiff Tatum-Rios and New York Subclass Members on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website and its online retail

operations under § 296(2) et seq. and/or its implementing regulations. Unless the Court

enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and the

New York Subclass Members will continue to suffer irreparable harm.

       59.     As Defendant’s actions violate the NYSHRL, Plaintiff Tatum-Rios seeks

injunctive relief to remedy the discrimination.




                                            -18-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 19 of 23




        60.     Plaintiff Tatum-Rios is also entitled to compensatory damages, as well as

civil penalties and fines under N.Y. Exec. Law § 297(4)(c) et seq. for every offense.

        61.     Plaintiff Tatum-Rios is also entitled to reasonable attorneys’ fees and costs.

        62.     Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.


                               THIRD CAUSE OF ACTION
                             VIOLATIONS OF THE NYCHRL

        63.     Plaintiff Tatum-Rios, individually and on behalf the New York City

Subclass Members, repeats and realleges every allegation of the preceding paragraphs as

if fully set forth herein.

        64.     The NYCHRL provides that “It shall be an unlawful discriminatory practice

for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

employee of any place or provider of public accommodation, because of . . . disability . . .

directly or indirectly, to refuse, withhold from or deny to such person, any of the

accommodations, advantages, facilities or privileges thereof.” N.Y.C. Admin. Code § 8-

107(4)(a).

        65.     Defendant’s Website and, therein, its online retail operations, constitute

sales establishments and public accommodations under NYCHRL, N.Y.C. Admin. Code §

8-102(9), and its Website is a service that is integrated with its online retail operations.

        66.     Defendant is subject to NYCHRL because it owns and operates its Website,

which is marketed to consumers located in the City of New York, making it a person under

N.Y.C. Admin. Code § 8-102(1).




                                             -19-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 20 of 23




       67.     Defendant is violating the NYCHRL in refusing to update or remove access

barriers to Website, causing its Website to be completely inaccessible to the blind. This

inaccessibility denies blind patrons full and equal access to the facilities, goods, and

services that Defendant makes available to the non-disabled public.

       68.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C. Admin.

Code § 8-107(15)(a).

       69.     Defendant’s actions constitute willful intentional discrimination against the

Subclass because of a disability, violating the NYCHRL, N.Y.C. Admin. Code § 8-

107(4)(a) and § 8-107(15)(a,) in that it has:

               a.      Constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      Constructed and maintained a website that is sufficiently intuitive

and/or obvious that is inaccessible to blind class members; and/or

               c.      Failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       70.     As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff Tatum-Rios and the New York City Subclass Members

because of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, accommodations and/or opportunities of its Website and its




                                            -20-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 21 of 23




establishments under § 8-107(4)(a) and/or its implementing regulations. Unless the Court

enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and the

New York City Subclass will continue to suffer irreparable harm.

          71.   As Defendant’s actions violate the NYCHRL, Plaintiff Tatum-Rios seeks

injunctive relief to remedy the discrimination.

          72.   Plaintiff Tatum-Rios is also entitled to compensatory damages, as well as

civil penalties and fines for each offense. N.Y.C. Admin. Code §§ 8-120(8), 8-126(a).

          73.   Plaintiff Tatum-Rios is also entitled to reasonable attorneys’ fees and costs.

          74.   Under N.Y.C. Admin. Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set

forth below.

                              FOURTH CAUSE OF ACTION
                                DECLARATORY RELIEF

          75.   Plaintiff Tatum-Rios, individually and on behalf the Class Members,

repeats and realleges every allegation of the preceding paragraphs as if fully set forth

herein.

          76.   An actual controversy has arisen and now exists between the parties in that

Plaintiff Tatum-Rios contends, and is informed and believes that Defendant denies, that its

Website contains access barriers denying blind customers the full and equal access to the

goods, services and facilities of its Website and by extension its online retail operations,

which Defendant owns, operates and controls, fails to comply with applicable laws

including, but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq.

prohibiting discrimination against the blind.



                                             -21-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 22 of 23




       77.     A judicial declaration is necessary and appropriate now in order that each

of the parties may know its respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Tatum-Rios respectfully requests this Court grant the

following relief:

               a.      A preliminary and permanent injunction to prohibit Defendant from

violating Title III of the ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq.,

N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take

all the steps necessary to make its Website into full compliance with the requirements set

forth in Title III of the ADA, and its implementing regulations, so that the Website is

readily accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates the

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by ADA, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

Law § 296, et seq., N.Y.C. Admin. Code § 8-107, et seq., and the laws of New York

               d.      An order certifying the Class and Subclasses under Fed. R. Civ. P.

23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and her attorneys

as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory damages, punitive damages and fines;

               f.      Pre- and post-judgment interest;




                                            -22-
     Case 1:20-cv-09896-VEC Document 1 Filed 11/24/20 Page 23 of 23




               g.      An award of costs and expenses of this action together with

reasonable attorneys’ and expert fees; and

               h.      Such other and further relief as this Court deems just and proper.

                            DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff Tatum-Rios demands a trial by jury on

all questions of fact the Complaint raises.

Dated: New York, New York
       November 24, 2020

                                      LIPSKY LOWE LLP



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